Case 2:20-cv-09091-PA-AS Document 75 Filed 08/26/21 Page 1 of 2 Page ID #:3905




  1

  2

  3

  4

  5

  6
                          UNITED STATES DISTRICT COURT
  7
                         CENTRAL DISTRICT OF CALIFORNIA
  8

  9    THRIVE NATURAL CARE, INC.,            Case No. 2:20-CV-9091-PA-AS
 10                  Plaintiff,              Hon. Percy Anderson
 11         v.                               ORDER DENYING PLAINTIFF
                                             THRIVE NATURAL CARE, INC.’S
 12    THRIVE CAUSEMETICS, INC.,             APPLICATION FOR LEAVE TO
                                             FILE UNDER SEAL DOCUMENTS
 13                     Defendant.           IN SUPPORT OF ITS
                                             OPPOSITION TO DEFENDANT’S
 14                                          MOTION FOR SUMMARY
                                             JUDGMENT
 15

 16

 17

 18

 19

 20

 21

 22

 23

 24

 25

 26

 27

 28
                                                    [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                         APP. FOR LEAVE TO FILE UNDER SEAL
                                                                    Case No. 2:20-cv-9091-PA-AS
Case 2:20-cv-09091-PA-AS Document 75 Filed 08/26/21 Page 2 of 2 Page ID #:3906




  1                     [PROPOSED] ORDER GRANTING LEAVE
  2                       TO FILE DOCUMENTS UNDER SEAL
  3         On August 23, 2021, Plaintiff Thrive Natural Care, Inc. (“Plaintiff”) filed an
  4
      Application For Leave to File Under Seal Documents in Support of Plaintiff’s

  5   Opposition to Defendant’s Motion for Summary Judgment, also filed on August 23,
  6   2021. The Court having considered Plaintiff’s Application, and compelling reasons
  7   and good cause appearing therefore, IT IS HEREBY ORDERED that the Court
  8
      DENIES the Application to File Under Seal the following documents and

  9   information:
 10
       DOCUMENT                      DESCRIPTION
 11
       Opposition                    The information appearing on pages 3, 6, 7, 15, 19,
 12
                                     22-24 of Plaintiff’s Opposition to Defendant’s
 13
                                     Motion for Summary Judgment.
 14
       SDG                           The information appearing on pages 3, 8, 14-18 of
 15
                                     Plaintiff’s Statement of Genuine Disputes.
 16
       Drews Opp. Declaration        The information appearing in the Drews Opp.
 17
                                     Declaration and attached schedules.
 18

 19
       Exhibits A-C to the           Deposition transcripts of Defendant’s Rule 30(b)(6)

 20
       McArthur Opp. Declaration designee Karissa Bodnar and personal depositions

 21
                                     of Brendan Gardner-Young and Ned Menninger and

 22
                                     related deposition exhibits.

 23          Plaintiff is denied leave to file under seal the Opposition, SDG, Drews Opp.
 24   Declaration, and Exhibits A-C to the McArthur Opp. Plaintiff failed to meet its
      burden of overcoming the presumption of the public right to access.
 25
                                                         DENI
                                                            ED
 26                                                           BYORDEROF

 27
                                                      UNI
                                                        TEDSTATESDI
                                                                  STRI
                                                                     CTJ
                                                                       UDGE
 28                                                            08/26/21

                                                         [PROPOSED] ORDER GRANTING PLAINTIFF’S
                                                              APP. FOR LEAVE TO FILE UNDER SEAL
                                                -1-                      Case No. 2:20-cv-9091-PA-AS
